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        Hello Judge Leslie Kobayashi,        DISTRICT OF HAWAII
         My name Is Rudy Davis and I run a small Christian prison ministry. Anthony Troy
        Williams and I have come to know each other over the last 1.5 years through phone
        calls, emails and US letters. I consider him a brother in the family of Jesus Christ. It is
        obvious to me (although you will likely find it hard to believe) that Anthony has a smear
        campaign targeted at him. I refer to them as a bunch of devilish hyenas. Their main
        websites are www.thefogbow.com and www.quatloos.com. Just type in "Anthony Troy
        Williams" on either website and you will see pages and pages of defamatory and
        derogatory slander targeted at Anthony. What drives their enthusiasm and enmity
        against Anthony? As a judge, you may be inclined to believe these websites and think
        that all this information is an accurate representation of Anthony's character from
        people who care about justice. You would be sorely mistaken. The FBI has for years
        engaged in targeted attacks on individuals in order to silence them,slander them in the
        media, and intimidate their friends. Why was Anthony denied a trial for 3 years? Why
        did the FBI cold call all his clients and ask leading questions to initiate any fraudulent
        claims? Why has Anthony's website all been taken down? Why was I denied as a
        character witness at his trial? Why was US Deputy Marshal Stan Salas allowed to call
        Anthony's friend and put her "on notice" of the consequences of continuing to support
        Anthony? Stan clearly used his position to intimidate Anthony's friend and we have it
        recorded.

         1 ask that you do the right thing regarding Anthony Troy Williams as history will show
        the horrific behavior of the FBI, US Marshals and the criminal justice system that has
        been used as a political weapon against Anthony because of his belief system. You may
        not agree with Anthony but that should not allow you the right to use the law as a
        political weapon against Anthony in order to silence him. Our Father who art in Heaven
        sees all that happens on this Earth and there will be nothing done that will be hidden.
        All things will be accounted for before the Lord.

        Luke 12:2-3 For there is nothing covered, that shall not be revealed; neither hid, that
        shall not be known. Therefore whatsoever ye have spoken in darkness shall be heard in
        the light; and that which ye have spoken in the ear in closets shall be proclaimed upon
        the housetops.

        All glory to Jesus,

        Rudy Davis / 972-839-9848

        www.YearOfJubile.com/anthonv




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